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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF CALIFORNIA

                                 MEMORANDUM


Honorable Garland E. Burrell, Jr.
United States District Judge
Sacramento, California

                                         RE:    Christopher BURGESS
                                                Docket Number: 2:04CR00032-02
                                                PERMISSION TO TRAVEL
                                                OUTSIDE THE COUNTRY

Your Honor:

The releasee is requesting permission to travel to Cancun, Mexico and Equador. He is
current with all supervision obligations, and the probation officer recommends approval be
granted.


Conviction and Sentencing Date: On April 8, 2005, the releasee was sentenced for the
offenses of 18 USC § 371, 1030(a)(5)(A)(i) and (B)(i) - Conspiracy to Commit Computer
Intrusion, and 18 USC § 1030(a)(5)(A)(i) and (B)(i) - Computer Intrusion.


Sentence imposed: 3 months custody Bureau of Prisons; 3 years Supervised Release;
$29,000 restitution (equally proportioned with co-defendant for total of $14,500) - paid in
full; $100 special assessment - paid in full; Mandatory drug testing. Special conditions:
Search; Financial restrictions and disclosure; DNA testing.


Dates and Mode of Travel: The releasee plans to travel in Summer and Fall 2006.


Purpose: The releasee is in the process of securing dates and addresses of travel. His
family owns a condominium in Cancun, Mexico, and his mother resides in Equador. It is
also requested that the Court allow the releasee to continue to travel to these locations
during the period of supervision, as long as he remains in compliance with conditions of
Supervised Release.



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RE:   Christopher BURGESS
      Docket Number: 2:04CR00032-02
      PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                Respectfully Submitted,

                                     /s/ Dayna D. Ward

                                 DAYNA D. WARD
                           United States Probation Officer

DATED:       February 14, 2006
             Roseville, California
             :ddw/cd


REVIEWED BY:               /s/ Richard A. Ertola
                    RICHARD A. ERTOLA
                    Supervising United States Probation Officer


ORDER OF THE COURT:

Approved       X                                Disapproved


Dated: February 21, 2006


                                          /s/ Garland E. Burrell, Jr.
                                          GARLAND E. BURRELL, JR.
                                          United States District Judge




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